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 U S DISTRICT COURT
district of new HAMPSHIRE
       MAR 05 201B
                                   UNITED STATES DISTRICT COURT
        FILED                              Concord, NH

          District of Merrimack NH                                Docket#                   £rt"0

          Isaac Green
          V.



          YouTube,Twitter, Google, GoFundMe, Facebook, and Patreon
                 Defendants


          Consolidated Plaintiffs Lawsuit For Violations of Civil Rights Act, 1964,
          Election Rigging, Bill of Rights, Constitutional Law First Amendment Rights,
          Censorship, Illicit Shadow banning of Information, Cyberbullying, Illicit
          Monitoring, Unmasking, Defamation, NIED Negligent Infliction Of Emotional
          Distress, False Strikes On Lawful YouTube Channel, Discrimination, Failure
          to Pay Out Lawful earnings for monetization on channel videos which are all
          due the same monetization as other channels doing the same type of
          videos.

           Demand for Jury Trial

          The Plaintiff reserves the right to amend this Complaint

          Jurisdiction is based on the diversity of Citizenship

          We Reserve the Right to Add Members to consolidate like Claims as Long As
          the Lawsuit is pending. The bullying, intimidation and threats to those that
          go up against these predators is actually life threatening, we therefore have
          the right to protection as we proceed to lawfully sue the Perpetrators.

                 1. Plaintiff, Isaac Green is a resident of Florida, residing in 24 North
                 Saint Augustine Boulevard. Saint Augustine FL 32080


                 2. The Defendants companies reside w/ headquarters in the USA,in
                 California. All companies have violated federal law. (addresses)
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Google, Inc.
1600 Amphitheatre Parkway in Mountain View,
Santa Clara County, California,


YouTube, Inc.
901 Cherry Ave. San Bruno. CA 94066 USA.


Twitter
1355 Market St. #900. San Francisco
CA 94103



Go Fund Me
1010 Second Avenue
Suite 1770
San Diego. CA 92101


3. The entire group consisting of multiple Plaintiffs have been
censored, bullied, monitored,free speech severed, accounts closed,
tampered with. Plaintiffs harassed & persecuted, with the websites
violating their civil rights, 1^ Amendment rights. Political Rights, and
conduction censorship.(Exhibits). These websites have destroyed
"free speech" and the 1"^* Amendment, which is a Constitutional
right. These companies are based inside the USA,therefore the
Constitution, and the 1®* Amendment apply.

4. Twitter, and YouTube conspired to rig the election, targeted
people for their political views, and now that there are mid-term
elections, those reporting on current news events around the globe
are being targeted more than before. The Plaintiff is such a victim to
this unlawfulness, and since October, 2017,The Plaintiffs channel
has a recorded 68,000 subscribers according to YouTube,owned by
Google, and videos with many thousands views. YouTube has
unfairly refused to allow for advertiser revenue on the Plaintiffs
channel, an act of discrimination, and since they do have advertisers
even that oppose the content that the Plaintiff has on his channel, he
has a right to advertiser revenue from videos.
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5. YouTube has given 3false "strikes" onto the Plaintiffs lawful
channel & closed It on February 22,2017, and taken hold of his
lawful virtual property In all of the videos on the Plaintiffs channel
that the videos are produced by the Plaintiff only, and are protected
under the 1^ Amendment, Freedom of Speech and virtual rights
property laws. Those that are not In favor of the Plaintiffs views. In
fact, do not need to subscribe or watch those videos that Is their
freedom. YouTube,cannot Illegally take hold of another's virtual
property,(case law)they cannot Institute false strikes for fair use,
solely given to close down lawful channels. The website Google,the
owner of YouTube Is using their own political bias, to shut down
channels that present any facts that differ from their own
agenda. They are Indeed rigging another election year, and
proceeding to attack lawful channel owners.

6. The Plaintiff Is also a subscriber to Twitter, another website, and
Twitter has targeted the Plaintiff and many other subscribers, and on
Feb 20,2018,they automatically unsubscribed over 500 of his
followers, and that of many other Twitter accounts. For many
people,they were locked out of their own Twitter accounts. The
"Internet" Itself does not shut down,and website owners cannot
"tamper" with buttons to destroy lawful account users, and their
content, but they are doing It far worse than they did. In the 2016
election.


7. There can be no political agenda to target people & weaponlzed
the Internet but they are doing just that. USA does not have
censorship,just the Constitution, & their actions violate the
1^^ Amendment,and huge discrimination. All of these websites are
out of control, violating civil rights, federal laws, & using the sites to
target Individuals.

8. Twitter the website, based In California, violated Federal law & Is
tampering with the 2018 elections, news of which the Plaintiff Is
reporting on his channel, and Is In fact, his virtual property. Twitter
has deleted accounts. Including that of Mllo Ylannopoulos, who
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suffered discrimination based on sexuality, political beliefs, and
popularity. Twitter, and YouTube have tampered with this site's
popularity, and rights to access all parts of the internet. Twitter is
deleting tweets that simply contain news, and they troll, invade,
stalk, harass, cyberbully, cyberstalk, unmask, and hound particular
accounts (Exhibits)

9. Twitter closes accounts that do not violate anything, or do
anything wrong,. This is pure abuse & harassment & it has to
cease. Twitter has weaponized themselves & now try to privately
police people based on European law while operating in the
USA. These violations have turned the internet into a political &
criminally run enterprise, not free use for users. Germany has even
taken a stand that the rules these sites are using, are Illegal, and yet,
inside the USA, no one is fighting to protect our internet rights,
except this group of Plaintiffs.

10.       Other very popular people and channels have been
harassed and tampered with. Recently, In April 2017,YouTube shut
down channels, based on true news. YouTube has not faced
consequences for these actions, & they continue to be a vile,
predatorily base,& they tamper with accounts, inventing strikes, and
trying to shut down channels. They discriminate, and allow for porn,
child porn,& sexual abuse, but sites that are Christian, Conservative,
or against all of that, they launch personal staff to attack, stalk,
unmask, and illegally enter into those accounts, even tampering with
original content. They delete news they do not like, even when true,
and prove a false narrative from Main Stream News,and they
operate as a war zone against true news.

11.        The Plaintiffs own YouTube channel is the target of
Google & YouTube harassment. The Plaintiff has many exhibits, as
well as emails, links, articles, other deleted channels, YouTube's own
admissions, Facebook's admissions to Russian ads,& targeting
conservatives. Twitter's reprehensible abuse of power, deleting the
President's Twitter account, Roseanne Barfs twitter account, and
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many others, are the exhibits in this matter. There are over 7,000
exhibits.


12.        The Plaintiff has suffered different levels from slight to
severe NIED Negligent Infliction of Emotional Distress in violation of
federal law, these distresses include undo anxiety,fear, & inability to
even fathom that his own rights are this violated. This is such an
extreme abuse of website power that this documentation provides a
window into how much abuse was bestowed upon victims in this
case. (Exhibits) All sites are liable from "garden variety" stress,
which is inflicted and does not include doctors or medications, up to
those that had to be treated for distress.


13.         YouTube gave the Z"'' strike over a video regarding a news
incident at a high school in his own state, and although his narrative
disclosed findings that the website disagreed with,they issued a false
second strike, and closed down his channel for some time, shocking
the Plaintiff, and all of his followers. Once the Plaintiff checked on
Twitter, they had also tampered with his account and following. No
website owners can have this control or unlawful means to disrupt
the internet, and instill fear into anyone,that is reporting a story of
their own views. (Violation of the I''* Amendment), harassment,
theft of the Plaintiff's virtual property, & more.

14.         YouTube is subject to federal law,the Constitution, and
Internet law. Civil Rights Law, 1^* Amendment,and laws that force
"fair" and lawful compensation due. They depended on vile
mistreatment, and harassment to allow for this continued
practice. When they got more channels of "truth" they increased
their abusive theft and demonetized videos for no reason, no
warning or notice, and left people, including myself, with 0
income. There are multiple law suits pending in other federal courts,
and a private company is not allowed to discriminate or harass
channels as they do. These are all violations based on operating
business in good faith, and fair practices, which YouTube does not
do.
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15.       CEO Susan Wojcicki has destroyed the site of YouTube,
while paying herself $300 Million or more a year, and engages in
embezzlement of all of this revenue. She started a website herself
on YouTube, and for other novice YouTube channel owners, and
unfairly supports them and their leftist content, trying to make up for
the Millions lost in advertiser revenue from those that she sought to
destroy income for. https://www.change.org/p/class-action-lawsuit-
against-multiple-websites-breach-of-contract-triple-damages-lead-
defendant-voutube/u/22069862



16.        The Plaintiff opened up a Go Fund Me Account, and
started trying to raise money, he had a lawful account, and raised
over $1,000 in 2 hours to help him survive and fight and continue his
own right to free speech, and Go Fund Me shut down his campaign,
and returned all of the money. They cannot do this, and that website
cannot control lawful fundraisers. They are also politically driven to
black list any law abiding citizens that honor our laws, country, and
President. Go Fund Me has tried to sabotage other fund raisers
based on political agenda. They cannot. This is unlawful, and an
abuse of their own "fundraiser" theme. Go Fund Me has allowed for
other accounts to raise the same type offunds, making this a case of
discrimination. They could have contacted the Plaintiff, & he could
have changed the wording on his campaign,they closed it due to
bias.


17.        Jack, the CEO of Twitter has been under fire for his failure
to lawfully manage the site, he was caught by James O'Keefe in an
undercover sting, being liable for shadowbanning, and deletion of
content, as weil has hiding tweets within the frame of the site.

18.        YouTube has ignored copyright infringement law, & fair
use law, rights to intellectual property, and is liable for all harm they
do to any channels that are simply posting lawful content. YouTube
rigs 100% real time analytics, they are all false, and do not reflect
viewership, view counts, lengths of time people view the videos, or
how many view new uploads. YouTube staff manually tampers with
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     all analytics, and tries to hide popular videos and channels. ON the
     Plaintiff's channel, they hide views, and subscribers.

     19.       . YouTube,Twitter, and Go Fund ME's refusal to abandon
     using these websites as political weapons,ignoring law,the
     Constitution, 1®* Amendment rights, and within all Federal law
     guidelines, leaves them liable for every dollar of damage applicable
     under the law. Under separate cover, they have criminal
     accountability as well.

     20.          Facebook, locked out the Plaintiff and Patreon did not pay
     Plaintiff all received pledges, taking money from Patrons that was not
     given to Plaintiff. All websites have increased their abuses on
     Plaintiffs, rather than ceased and operate within the law, they hire
     staff to cyberstalk and spy on all website users and their rights to
     equally share time on the internet.

CAUSES OF ACTION


     21.        The Defendants jointly have causes of actions for each
     separate violation of law & each occurrence that they perpetrated
     abuse based on political agenda,& dislike for the Piaintiff &
     additional Plaintiffs. Privately owned companies cannot operated
     based on discrimination, harassment, civil rights violations, violations
     of the r* Amendment,disparage reputations of people by illicit
     shutdowns, or lock outs of their accounts, hampering,tampering,
     deleting, embezzling, etc. Every US & Federal law, prohibits all that
     these websites & CEO's are engaging in, & they are 100% liable for
     their willful, deceitful, heinous,& despicable actions to innocent
     victims properly using the internet.

     22.       The Plaintiff and the other Plaintiffs in this lawsuit are
     seeking fairness, lawfulness, and harassment free use of the
     internet. The targeting of individuals, trying to tarnish their name
     and work, give out false strikes, delete lawful followings,
     shadowbanning,in which Twitter was caught publicly, are all illegal,
     and crimes as well as liabilities. The Google website cannot refuse to
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monetize certain channels that in fact, meet all of their criteria, and
the Plaintiffs channel does. The Plaintiff is also allowed to have a
fund raiser and use the funds to seek legal remedy for injustice and
discrimination.


RELIEF
23.          Relief should be granted based on the massive violations
of ail listed Federal laws, and the continued nonpayment of adequate
advertisement revenue to channel owners on YouTube. The "class"
or "consolidated" Plaintiffs seek money relative to their own losses,
& violations of the Constitution, Amendment rights of free speech,
civil rights, right to fair use, NIED Negligent Infliction of Emotional
Distress, Unmasking, Defamation, Censorship, Violations of Civil
Rights Act, Election Rigging, Harassment, etc.



24.       The group of Plaintiffs in this class action law suit, are
seeking 1 Billion dollars in damages with subject to increase as more
Plaintiffs are added to the class. The distribution of this total is based
on unpaid revenue on YouTube, loss of ability to have an account if it
was due to closure & censorship, harassment, copyright
infringement. Negligent Emotional Distress, on any of the 3 websites,
and interest, any costs for the filing of this claim, court costs, expert
witnesses, attorney's fees, & any other monies that the jury deems
fair.


25.      The consolidated or Class of Plaintiffs has been bullied,
made fearful, silenced, & intimidated into proceeding in this
complaint,& it has been the will of lead Plaintiff, Natasha DeLima to
commence this legal action, allow for time of others to gather
themselves & put forward their complaints. Plaintiffs are based all
over the USA,& other countries, & will be filing their complaints if
they have been able to get on board at this time.

26.        The Plaintiff seeks the following out of the 1 Billion dollars
sought in this case collectively
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        1. 750,000 For Non Monetization based on discrimination
        2. 250,000 for first false strike ofYouTube lawful channel
        3. 500,000 for 2""^ false strike of YouTube lawful channel, and
        shutdown
        4. 10 Million for theft of Plaintiffs tangible property & unlawful
        closure of his channel on February 22, 2018
        5. 250,000 for Twitter tampering w/ account and deleting
        followers
        6. 60,000 for Go Fund Me closing down lawful account and
        prohibiting Plaintiff from receiving donations

Signed, Isaac Green February     ^             2018
